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Case 2:21-mj-00394-VCF Document1 Filed 11/30/21 Page 1of 4

CHRISTOPHER CHIOU

Acting United States Attorney
District of Nevada

Nevada Bar Number 14853
CHRISTOPHER BURTON

Nevada Bar Number 12940

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Daniel.Clarkson@usdoj.gov

Attorneys for the United States of America

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

IN RE APPLICATION OF THE
UNITED STATES OF AMERICA
FOR AN ORDER AUTHORIZING _

THE INSTALLATION AND USE OF

A PEN REGISTER AND TRAP AND
TRACE DEVICE -

 

GOVERNMENT'S APPLICATION -
FOR EX PARTE DISCLOSURE OF
TAX RETURNS AND RETURN
INFORMATION

 

IN RE APPLICATION OF THE
UNITED STATES OF AMERICA
FOR AN ORDER AUTHORIZING
THE INSTALLATION AND USE OF
A PEN REGISTER AND TRAP AND
TRACE DEVICE

 

PRIORITY MAIL PARCEL
BEARING TRACKING NUMBER
9114 9023 0722 4923 2703 15,
ADDRESSED TO COLIN NIES, 419
11TH AVE., APT 2, BELMAR NJ
07719-2407

 

 

Case No. 2: 2:21-mj-00394-VCF

_._ i: GOVERNMENT ’S MOTION TO
| UNSEAL CASE

-| Case No. 2:21-mj-00375-VCF

GOVERNMENT’S MOTION TO

-UNSEAL CASE

Case No. 2:21-mj-00394-VCF

GOVERNMENT’S MOTION TO
UNSEAL CASE

Case No.: 2:21-mj-00487-VCF

GOVERNMENT’S MOTION TO
UNSEAL CASE

 
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Case 2:21-mj-00394-VCF Document1 Filed 11/30/21 Page 2 of 4

PRIORITY MAIL PARCEL
BEARING TRACKING NUMBER
9114 9023 0722 4923 2708 72,
ADDRESSED TO ZACH BERMAN,
144 MORELAND AVE NE, UNIT 659,
ATLANTA, GA 30307

 

IN THE MATTER OF THE APPLICATION
OF THE UNITED STATES OF AMERICA
FOR AN ORDER AUTHORIZING THE
INSTALLATION AND USE OF A PEN
REGISTER, TRAP AND TRACE DEVICE
AND CALLER IDENTIFICATION
SERVICE, AND AUTHORIZING RELEASE
OF SUBSCRIBER INFORMATION, CELL
SITE INFORMATION AND FOR A GPS
TRACKING WARRANT ON CELLULAR
TELEPHONE NUMBER (702) 443-8354

 

 

 

 

The United States of America, by and through CHRISTOPHER CHIOU, Acting
United States Attorney, and Christopher Burton, Susan Cushman, and Kimberly Sokolich,

Assistant United States Attorneys, respectfully move this Honorable Court for an Orderto}

items and all rélated documents itt aiiticipation of producing the same as discovery in Case

No. 2:21-cr-00190-APG-EJY.

DATED this 30th day of November, 2021.

Case No. 2:21-myj-00486-VCF

GOVERNMENT’S MOTION TO
UNSEAL CASE

Case No. 2:21-mj-00476-VCF

GOVERNMENT’S MOTION TO
UNSEAL CASE

‘UNSEAL the above-captioned cases: Specifically, the undersigned requests to unseal these } «=. <0 -=

Respectfully,

CHRISTOPHER CHIOU
Acting United States Attorney

An . S <,
KIMBERLY SOKOLICH
CHRISTOPHER BURTON

Assistant United States Attorneys

 
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Case 2:21-mj-00394-VCF Document1 Filed 11/30/21 Page 3 of 4

CHRISTOPHER CHIOU

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Attorneys for the United States of America

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

IN RE APPLICATION OF THE
UNITED STATES OF AMERICA

FOR AN ORDER AUTHORIZING

THE INSTALLATION AND USE OF _
A PEN REGISTER AND TRAP AND
TRACE DEVICE: -

 

‘GOVERNMENT'S APPLICATION: ~

FOR EX PARTE DISCLOSURE OF
TAX RETURNS AND RETURN
INFORMATION

 

IN RE APPLICATION OF THE
UNITED STATES OF AMERICA
FOR AN ORDER AUTHORIZING
THE INSTALLATION AND USE OF
A PEN REGISTER AND TRAP AND
TRACE DEVICE

 

PRIORITY MAIL PARCEL
BEARING TRACKING NUMBER
9114 9023 0722 4923 2703 15,
ADDRESSED TO COLIN NIES, 419
11TH AVE., APT 2, BELMAR NJ
07719-2407

 

 

Case No. 2: 2:21-mj-00394-VCF

| ORDER TO UNSEAL CASE __

Case No. 2:21-mj-00375-VCF -

ORDER TO UNSEAL CASE

Case No, 2:21-mj-00394-VCF

ORDER TO UNSEAL CASE

Case No.: 2:21-myj-00487-VCF

ORDER TO UNSEAL CASE

 
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| HEREBY ORDERED that the instant cases shall be unsealed. __

 

Case 2:21-mj-00394-VCF Document1 Filed 11/30/21 Page 4 of 4

PRIORITY MAIL PARCEL Case No. 2:21-mj-00486-VCF
BEARING TRACKING NUMBER
9114 9023 0722 4923 2708 72, ORDER TO UNSEAL CASE

ADDRESSED TO ZACH BERMAN,
144 MORELAND AVE NE, UNIT 659,
ATLANTA, GA 30307

IN THE MATTER OF THE APPLICATION] Case No. 2:21-mj-00476-VCF
OF THE UNITED STATES OF AMERICA|
FOR AN ORDER AUTHORIZING THE ORDER TO UNSEAL CASE
INSTALLATION AND USE OF A PEN
REGISTER, TRAP AND TRACE DEVICE
AND CALLER IDENTIFICATION
SERVICE, AND AUTHORIZING RELEASE
OF SUBSCRIBER INFORMATION, CELD
SITE INFORMATION AND FOR A GPS
TRACKING WARRANT ON CELLULAR
TELEPHONE NUMBER (702) 443-8354

 

 

Based on the Motion of the Government, and good cause appearing therefore, IT IS

_— “DATED this Zz of eli _ G01,

UNITED STATES ZEA DoE

 

 

 
